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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


LAMAR BURNO,

               Plaintiff,                 CIVIL ACTION NO. 14-cv-12262

       v.                                 DISTRICT JUDGE JOHN CORBETT O’MEARA

MICHAEL ANGELO, et al.,                   MAGISTRATE JUDGE MONA K. MAJZOUB

            Defendants.
___________________________/


                            REPORT AND RECOMMENDATION

I.     RECOMMENDATION

       It is recommended that Defendants Michael Angelo, Pacific Marketing, Inc., John Does

1-10, and XYZ Corporations 1-10 be dismissed from this action with prejudice pursuant to

Federal Rule of Civil Procedure 4(m).

II.    REPORT

       Plaintiff Lamar Burno filed the instant employment discrimination action on June 5,

2014, alleging that Defendants discriminated against him on the basis of race, color, and national

origin. (Docket no. 1.) On June 24, 2014, the Court granted Plaintiff’s Application to Proceed

In Forma Pauperis and his request for service of process by the U.S. Marshals Service. (Docket

nos. 4 and 5.) The U.S. Marshals Service was directed, but was unable, to serve Defendants

Angelo and Pacific Marketing, Inc. at the addresses provided by Plaintiff. (Docket nos. 15 and

16.) Plaintiff has not provided the Court with identifying information or addresses for any of the

unnamed defendants. On October 28, 2015, the Court entered an Order to Show Cause directing

Plaintiff to respond in writing on or before November 13, 2015, and explain why Plaintiff’s
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claims against Defendants Angelo, Pacific Marketing, Inc., John Does 1-10, and XYZ Corps. 1-

10 “should not be dismissed for failure to comply with Fed. R. Civ. P. 4(m).” (Docket no. 23.)

       The time for service of the summons and complaint is established under Federal Rule of

Civil Procedure 4(m), which provides that service must be made within 120 days after the filing

of the complaint. “If a defendant is not served within 120 days after the complaint is filed, the

court - on motion or on its own after notice to the plaintiff - must dismiss the action without

prejudice against that defendant or order that service be made within a specified time.” Fed. R.

Civ. P. 4(m). Service has not been effected on Defendants Angelo, Pacific Marketing, Inc., John

Does 1-10, or XYZ Corps. 1-10 within the time allotted under Rule 4(m). To date, Plaintiff has

not responded to the Court’s Order to Show Cause, requested an extension of time to identify the

unnamed defendants, or shown good cause to further extend the time for service. Accordingly, it

is recommended that Plaintiff’s claims against Defendants Michael Angelo, Pacific Marketing,

Inc., John Does 1-10, and XYZ Corps. 1-10 be dismissed with prejudice for failure to comply

with Federal Rule of Civil Procedure 4(m).

III.   NOTICE TO PARTIES REGARDING OBJECTIONS

       The parties to this action may object to and seek review of this Report and

Recommendation, but are required to act within fourteen (14) days of service of a copy hereof as

provided for in 28 U.S.C. § 636(b)(1) and Eastern District of Michigan Local Rule 72.1(d).

Failure to file specific objections constitutes a waiver of any further right of appeal. Thomas v.

Arn, 474 U.S. 140, 149 (1985); Howard v. Sec’y of Health & Human Servs., 932 F.2d 505 (6th

Cir. 1991); U.S. v. Walters, 638 F.2d 947, 949-50 (6th Cir. 1981). Filing of objections that raise

some issues but fail to raise others with specificity, will not preserve all the objections a party

might have to this Report and Recommendation. Willis v. Sec’y of Health & Human Servs., 931



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F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n Of Teachers Local 231, 829 F.2d 1370,

1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be

served upon this Magistrate Judge.

       Any objections must be labeled as “Objection #1,” “Objection #2,” etc. Any objection

must recite precisely the provision of this Report and Recommendation to which it pertains. Not

later than fourteen days after service of an objection, the opposing party must file a concise

response proportionate to the objections in length and complexity.          The response must

specifically address each issue raised in the objections, in the same order and labeled as

“Response to Objection #1,” “Response to Objection #2,” etc.



Dated: December 8, 2015              s/ Mona K. Majzoub
                                     MONA K. MAJZOUB
                                     UNITED STATES MAGISTRATE JUDGE



                                     PROOF OF SERVICE

        I hereby certify that a copy of this Report and Recommendation was served upon counsel
of record on this date.

Dated: December 8, 2015              s/ Lisa C. Bartlett
                                     Case Manager




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